Case 23-12365-SLM           Doc 10      Filed 03/27/23 Entered 03/27/23 09:58:40               Desc Main
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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY

 Caption in Compliance with D.N.J. LBR 9004-1(b)
 United States Department of Justice
 Office of the United States Trustee
 Andrew R.Vara, U.S. Trustee, Regions 3& 9
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 Newark, NJ 07102
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                                                                   Case No.:         23-12365(SLM)
                                                                                   ___________________
 In Re:
 Masahiko & Yasuko Negita,                                         Chapter:                11
                                                                                   ___________________

 Debtor.                                                           Judge:           Stacey L. Meisel
                                                                                  ___________________



                                       NOTICE OF APPEARANCE

          Please take notice that in accordance with Fed. R. Bankr. P. 9010(b) the undersigned enters an
                                       the United States Trustee Request is made that the documents
appearance in this case on behalf of _________________________.
filed in this case and identified below be served on the undersigned at this address:

          ADDRESS: ATTN: Fran B. Steele, Esq.
                       Office of the United States Trustee
                       One Newark Center, Suite 2100
                       Newark, NJ 07102

          DOCUMENTS:
          ☐ All notices entered pursuant to Fed. R. Bankr. P. 2002.

          ☐ All documents and pleadings of any nature.




                 3/27/23
          Date: ___________________________                        /s/ Fran B. Steele
                                                                   ______________________________
                                                                   Signature


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